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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                    :            CRIMINAL ACTION
                                             :
   v.                                        :            No. 19-635
                                             :
 JAMAR HUNTER                                :

                                         ORDER

        AND NOW, this 17th day of November, 2021, upon consideration of the Government’s

Motion for Reconsideration, and for the reasons stated in the accompanying Memorandum, it is

ORDERED the Motion (Document 46) is DENIED.

                                                 BY THE COURT:


                                                  /s/ Juan R. Sánchez      .
                                                 Juan R. Sánchez, C.J.
